                                                                                                                Form:def2

                                   UNITED STATES BANKRUPTCY COURT
                                         Eastern District of Michigan
                                           226 West Second Street
                                               Flint, MI 48502


                                            Case No.: 18−30528−dof
                                                  Chapter: 7
In Re: (NAME OF DEBTOR(S))
   Marsha E. Crookshank                                  Clifford C. Crookshank
   329 S. Highlander way Apt. 23                         329 S. Highlander way Apt. 23
   Howell, MI 48843                                      Howell, MI 48843
Social Security No.:
   xxx−xx−9061                                           xxx−xx−2493
Employer's Tax I.D. No.:


                                       NOTICE OF DEFICIENT FILING

It has been determined that the following document(s) are Missing and/or Non−Compliant:

1 − Chapter 7 Voluntary Petition for Individuals Filing for Bankruptcy : Fee Amount $0.00. Filed by Marsha E.
Crookshank, Clifford C. Crookshank (Savage, Kimberly)

is defective as indicated:

    Acceptable List of Creditors Missing
    Acceptable List of Creditors Not Uploaded
    Amended Document Missing or Non−Compliant (To be filed with Cover Sheet for Amendments in its entirety
    as one PDF)
    Application to Have the Chapter 7 Filing Fee Waived Missing or Non−Compliant
    Bankruptcy Petition Cover Sheet Missing or Non−Compliant
    Bankruptcy Matter Civil Case Cover Sheet Missing
    Brief Missing
    Certificate of Exigent Circumstances−Credit Counseling Waiver Missing
    Chapter 13 Plan is Non−Compliant
    Cover Sheet for Amendments to Schedules and or Statements Missing or Non−Compliant (To be filed with
    corrected document in its entirety as one PDF)
    Electronic Signature does not match login
    Electronic Signature Missing or Incorrect Format ECF Procedure 11 (d)(1)
    List of 20 Largest Unsecured Creditors Missing
    Motion for Approval of Certificate of Exigent Circumstances (109)(h)(3)(A) Missing
    Motion to Convert under 11 USC 706(a)(Rule 9013) Missing
    Motion to Excuse Credit Counseling (109)(h)(4) Missing
    Notice of Objection to Claim Missing or Non−Compliant
    Notice of Special Appearance (LBR 9010−1(c)) Missing or Non−Compliant
    Notice to Respondent Missing or Non−Compliant
    Original Signature Missing or Non−Compliant


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    Petition Non−Compliant (To be filed in its entirety)
    Proof of Service Missing or Non−Compliant
    Proposed Order Missing
    Statement of Attorney for Debtors 2016b LBR 9010−1c Missing or Non−Compliant
    Statement of Corporate Ownership Missing
    Statement of Petition Preparer Pursuant to F.R.Bankr.P.2016 (c) Missing
A corrected/missing document must be filed with the court within seven (7) days of this notice. If not corrected, the
case may be dismissed or an order striking the document from the record may be entered by the Court. The new
document filed should be identified as "CORRECTED".


Dated: 3/6/18
                                                                    BY THE COURT



                                                                    Katherine B. Gullo , Clerk of Court
                                                                    U.S. Bankruptcy Court




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